as

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

DIVISION
hy

(Enter Above the Nate of the Plaintiff in this Actio TF

Cali wibys falce dopar J mente

(Enter above the name of the Defendant in this Action

if there are additional Defendants, please list them:
Lol for carta y
ee enn 1369

‘Judge Sarcus
L —_

 
  

 

I. Parties to the action:

Plaintiff: Place your name and address on the lines below. The address you give must be the address where
the court may contact you and mail documents to you. A telephone number is required.

Shem Lo W) Ky Ly Ney MEG

Name - Full Name Please - PRIN La (p

 
  

 

Pel 4 / Att , DEAR SYS ORT eee
Street Address (a
Colum be ‘2413223
City, State and Zip Code

@/4- 7F6O5-~ 8726

Telephone Number
Case: 2:20-cv-01362-MHW-KAJ Doc #: 1-1 Filed: 03/13/20 Page: 2 of 6 PAGEID #: 5

Defendant(s):

Place the name and address of each Defendant you listed in the caption on the first page of this Complaint. This
form is invalid unless each Defendant appears with full address for proper service.

. Sete pFolice west side

Name - Full Name Please

  
   
    

Address: Se€e, Ci ty, State and Zip Code

Korce J herd a¢|t On MR’ look

 

 

 

    

 

 

 

2.
N£ £L0M a, house wi A- Want _
3. aA consea-t /
4,
OpLn Whech st dna hep cl —
5. \ Gad was 4) iched up
al Mont. Corie | has pita |
6. iH-£0 ay loa OU S30 iA /)\
42 ALU LY CAAS 0 Nk i Nod}

lf
If there are addi ad ett please list their names and addresses on a separate sheet of paper.

Il. Subject Matter Jurisdiction
Check the box or boxes that describes your lawsuit:

O Title 28 U.S.C. § 1343(3)
[A civil rights lawsuit alleging that Defendant(s) acting under color of State law, deprived you of a
right secured by federal law or the Constitution.]

O Title 28 U.S.C. § 1331
[A lawsuit “arising under the Constitution, laws, or treaties of the United States.”]

O Title 28 U.S.C. § 1332(a)(1)
[A lawsuit between citizens of different states where the matter in controversy exceeds $75,000.]

Ol Title United States Code, Section
[Other federal status giving the court subject matter jurisdiction.}

 
Case: 2:20-cv-01362-MHW-KAJ Doc #: 1-1 Filed: 03/13/20 Page: 3 of 6 PAGEID #: 6

I. Statement of Claim

Please write as briefly as possible the facts of your case. Describe how each Defendant is involved. Include the
name of all persons involved, give dates and places.

Number each claim separately. Use as much space as you need. You are not limited to the papers we give you.
Attach extra sheets that deal with your statement claim immediately behind this piece of paper.

Yau nnd Sm | [lion MN G a

 

Alona with the oer
Camaplans yi Can _\ne Consbhe util

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

-3-
Case: 2:20-cv-01362-MHW-KAJ Doc #: 1-1 Filed: 03/13/20 Page: 4 of 6 PAGEID #: 7

TY. Previous lawsuits:

If you have been a Plaintiff in a lawsuit, for each lawsuit state the case number and caption.
(Example, Case Number: 2:08-cv-728 and Caption: John Smith vs. Jane Doe).

Case Number @ Ci A 8 Cw OGL. ion

SMNamarW, Mon! 90 ttn Cala mous Pol ce

VS.

 

VS.

V. Relief

In this section please state (write) briefly exactly what you want the court to do for you. Make no legal
argument, cite no case or statutes.

02 Lhound S i TA. anes
sutfel And! So thodsand/

fol COAG( UnHina Gg ho cdagna7~

SINCE & of Ma cu 7OZO

 

 

 

 

 

 

 

 

 

 

 

 

I state under penalty of perjury that the foregoing is true and correct. Executed on

this Bs Ley ft A ,20 Zy.

Signature of Plaintiff
Case: 2:20-cv-01362-MHW-KAJ Doc #: 1-1 Filed: 03/13/20 Page: 5 of 6 PAGEID #: 8

This my second presentation of what I had found of why I was attacked by nonprofit
organizations. I learned that psychology is a systematic understanding. Which explains a great
deal I have been a great understanding of intelligence One the fastest kid in my grad level and gth
grade I had one of the highest grades on the proficiency test of all time. I had an administrator in
juvenile court how would not lock me up because I never was at school but passed reading
writing and citizenship. Me being of great use to work force facts showing from employment
from White Castle they would not let me back into Columbus public schools. Which lead to me
working when I was just a kid learning how to manage money. People that have mental issues
are Jealous that suffer from personality dysfunctions and me being in customer service prove I
was not. But because of side effects of mental drugs I was in the streets looking for answer of
why Columbus systems where after me. These understandings come from. Adolphe 1796-1874,
Emil Kraelin 18556-1926 and I learn out the books. The author Alan porter, Phycology, and H.
Winter Griffth, M.D a complete guild to prescription and nonprescription drugs. I’m a man that
has been successful in anything I been in and have overcome the best knowledge people in
Columbus, Ohio. While being in mental hospital less than a month and making it back to be
punish not in the right of the Justice system. I have been beating in the head by cops in January
2004 and was sent to Mount Carmel hospital and treated for a head trauma. There is much more

and I asking for more time but case be open for Justice to be severed in my name.

Shamar Whitney Montgomery February 13 2020.
Case: 2:20-cv-01362-MHW-KAJ Doc #: 1-1 Filed: 03/13/20 Page: 6 of 6 PAGEID #: 9

Shamar Montgomery
Reason why | deserve my money and Removal of Julie Lynch of Maniple
Courts.

| have did many of appeals and today I presenting health records that are not of good charter of
Columbus Justice system, health systems, corrections and small business. I had went and got my
records from Mount Carmel hospital and found that on August 30 of 2009 that there where
record coving of my records. I had surgery do to the fact that I was incarcerated in was supposed
to be realest on the 8" of that month. I had got into a fight with a group of people that where held
at the workhouse off frank RD. in Columbus, Ohio. They had solved the situation and put me in
a holding celling. Where they gave me some mental drugs and help me there past my out date.
They expedited me to Twin Valley. When arrived at Twin Valley they since that my arm was
split open and would not take me in them condition and told to get me treated and bring me back.
The Columbus systems than not know that I was of a good sound mind and some day would

figure my case out made of the records that I’m presenting to day.

I went the 12 of February of 2020 to get my probation papers and found that Judge Lynch was
not mission in the involvement of my probation. When she was the one to sentence me to 6
months in the same place which is the workhouse according to what I call it but also is Franklin
county corrections 2 because I refuse to take medication because of my study in college where

falling back. She never herd my case because she said of late arrival.

I will be providing more records but today I have to protect myself by failing these to save my

protection because people seek to put me in the mental hospital to save their work understanding.
